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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )             8:05CR164
                      Plaintiff,                    )
                                                    )
       vs.                                          )           REPORT AND
                                                    )
JOHN S. CRESSON,                                    )       RECOMMENDATION
                                                    )
                      Defendant.                    )


       On August 4, 2005, defendant John S. Cresson (Cresson), together with his counsel,
Deborah D. Cunningham, appeared before the undersigned magistrate judge, waived
indictment, and consented to the filing of the Information herein. Cresson was advised of the
charge, the penalties, and the right to appear before a United States District Judge. After
orally consenting to proceed before a magistrate judge, Cresson entered a plea of guilty to
Counts I and II of the Information.
       After being sworn, Cresson was orally examined by the undersigned magistrate judge
in open court as required by Federal Rule of Criminal Procedure 11. Cresson also was given
the advice required by that Rule. Finally, Cresson was given a full opportunity to address the
court and ask questions.
       Counsel for the government and counsel for Cresson were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the pleas were knowing, intelligent and voluntary, and that there was
a factual basis for Cresson’s pleas of guilty to Counts I and II of the Information.
       Therefore, I find and conclude that: (1) the pleas are knowing, intelligent, and voluntary;
(2) there is a factual basis for the pleas; (3) the provisions of Rule 11 and any other provisions
of the law governing the submission of guilty pleas have been complied with; (4) a petition to
enter a plea of guilty, on a form approved by the court, was completed by Cresson, Cresson’s
counsel and counsel for the government, and such petition was placed in the court file; (5) the
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plea agreement is in writing and is filed in the court file; (6) there are no agreements or
stipulations other than those contained in the written plea agreement.


       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.      She accept the guilty plea and find the defendant, John S. Cresson, guilty of the
crimes set forth in Counts I and II of the Information to which Cresson tendered a guilty plea;
       2.      Since the plea agreement contains a provision under Fed. R. Crim. P.
11(c)(1)(C), she not accept the written plea agreement at this time but reserve acceptance
until the time of sentencing.


                                          ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall be
filed with the Clerk of the Court within ten (10) days after being served with a copy of this
Report and Recommendation. Failure to timely object may constitute a waiver of any such
objection. The brief in support of any objection shall be filed at the time of filing such objection.
Failure to submit a brief in support of any objection may be deemed an abandonment of the
objection.
       DATED this 4th day of August, 2005.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge




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